Case 2:90-cv-00520-KJM-SCR Document 3247-11 Filed 10/31/08 Page 1 of 30

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The Healthy Community Collaborative of San Mateo County

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& Healthier “Built” Environment
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